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                           IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                 MIDLAND/ODESSA DIVISION


DONNA WHITE                                                §
                                                           §
V.                                                         §      CIVIL ACTION NO. 7:19-CV-00066-DC
                                                           §
MEDICAL CENTER HOSPITAL,                                   §
MEDICAL CENTER HEALTH SYSTEM                               §
& HEALTH CAROUSEL, INC.                                    §

                              DEFENDANTS’ STIPULATION
                      TO EXTEND MCH’S VENUE RESPONSE DEADLINE

          COME NOW Defendants, Ector County Hospital District d/b/a Medical Center Hospital

and/or d/b/a Medical Center Health System, incorrectly named “Medical Center Hospital” and

“Medical Center Health System” (collectively “MCH”) and Defendant Health Carousel, Inc.

(“HC”) (collectively the “Parties”), and file this Stipulation to Extend MCH’s Venue Response

Deadline. In support hereof, the Parties would respectfully show the Court as follows:

                                                          I.

          On 5-8-19, HC filed its Motion to Transfer Venue (Doc. No. 8). The Parties conferred,

through their attorneys, regarding extending the date by which MCH may file its Response

thereto. To allow MCH and HC additional time to work through the venue issues between them,

the Parties stipulate, subject to the Court’s approval, that the deadline by which MCH may

respond to HC’s Motion to Transfer Venue shall be the later of June 7, 2019, or ten (10) days

after the Court’s disposition of MCH’s previously filed Rule 12(b)(6) Motion to Dismiss (Doc.

No. 7).

          Good cause exists to extend the deadline to allow MCH and HC the opportunity to fully

evaluate the venue issues as between one another. Further, the Court’s disposition of MCH’s




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Rule 12(b)(6) Motion to Dismiss might be instructive or dispositive of MCH’s need to respond

to HC’s venue motion. There have been no prior extensions of time to respond to HC’s Motion

to Transfer Venue, and because the Motion was recently filed, there appears to be no prejudice

extending the time allowing MCH to respond.

         WHEREFORE, PREMISES CONSIDERED, and subject to the Court’s approval, the

Parties stipulate that MCH shall have up to and including the later of June 7, 2019, or ten (10)

days after the Court’s disposition of MCH’s Rule 12(b)(6) Motion to Dismiss, to answer or

otherwise respond to HC’s Motion to Transfer Venue.

         IT IS SO STIPULATED.

         Dated: May 17, 2019                          SHAFER, DAVIS, O’LEARY & STOKER
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                                                      ATTORNEYS FOR DEFENDANT               ECTOR
                                                      COUNTY HOSPITAL DISTRICT




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         Dated: May 17, 2019                          JAMES L. DOYLE II LAW FIRM
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                                                      By: /s/ James L. Doyle, II
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                                                      ATTORNEYS FOR DEFENDANT HEALTH
                                                      CAROUSEL, INC.




IT IS SO ORDERED.


Dated:
                                                      PRESIDING JUDGE




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                                       CERTIFICATE OF SERVICE

      I certify that a true and correct copy of this document is being served on this 17th day of
May, 2019 to all counsel of record as shown below.

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                                                                   /s/ Miles Nelson
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                                                                  R. Layne Rouse




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